Case 3:10-cr-30118-DRH         Document 68        Filed 11/15/10     Page 1 of 1      Page ID #206




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )       No. 10-cr-30118-DRH
                                              )
 MICHAEL LENTINE,                             )
                                              )
        Defendant.                            )


                                             ORDER

 HERNDON, Chief Judge:

        This matter is before the Court on the Motion of the United States pursuant to Rule 17(c)(1)

 of the Federal Rules of Criminal Procedure and the All Writs Act, 28 U.S.C. §1651, for an order

 compelling US Bank, N.A. to produce certain documents described in a trial subpoena prior to the

 sentencing hearing.

        The Court finds that the government’s motion is well taken and the same is GRANTED. IT

 IS HEREBY ORDERED that US Bank, N.A. produce the requested documents to the attorney for

 the government, Bruce Reppert, Assistant U.S. Attorney, 9 Executive Drive, Fairview Heights,

 Illinois 62208 on or before December 17, 2010.

        IT IS SO ORDERED.

                                                                      David R. Herndon
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                                              DAVID R. HERNDON
                                              Chief Judge
                                              United States District Court
